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    Phone
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  4
                                     UNITED STATES DISTRICT COURT
  5
                                    CENTRAL DISTRICT OF CALIFORNIA
  6

  7 NINTENDO OF AMERICA INC, a                                ) Case No.: 2:19-CV-07818 CBM(RA0x)
  8 Washington corporation                                    )
       Plaintiff                                              )
  9
                                                              ) PRETRIAL MOTION TO DISMISS
 10
               vs.
                                                              )
 11                                                           )
      MATTHEW STORMAN, an individual,                         )
 12 Defendant                                                 )
 13                                                           )
                                                              )
 14

 15 Pursuant Rules 1, laws, and common laws Defendant hereby moves the Court to

 16
      dismiss the Plaintiff’s Complaint with prejudice. The basis for this motion is set forth
      in the accompanying Memorandum.
 17

 18
      Dated: 10/21/2019
                                                                _________________________________
 19                                                                       Matthew Storman
 20                                                                       1601 E. Ruddock St
                                                                          Covina, CA 91724
 21                                                                       In Pro Se
 22
      This motion is made following the conference of counsel pursuant to C.D. L.R. 7-3
 23 which took place on (date). 10/21/2019

 24
      References:
 25 1.Rules:
      Federal Rules of Civil Procedure Rule 12. Defenses and Objections: When and How Presented; Motion for Judgment
 26 on the Pleadings; Consolidating Motions; Waiving
      Defenses; Pretrial Hearing.
 27   Central District Court Local Rules 12, 7-3,

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                                                    MOTION TO DISMISS
